 Case 4:17-cv-04123-LLP Document 63 Filed 09/10/18 Page 1 of 5 PageID #: 1312



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DISTRICT

SALA NAAMBWE and YVETTE NIMENYA                      Case No.: 4:17-cv-04123-LLP

        Plaintiffs,

                        vs.                                DEFENDANT’S EXHIBIT LIST

 SMITHFIELD FOODS, INC.

        Defendant.


        Pursuant to Fed. R. Civ. P. 26(a)(3), Defendant Smithfield Packaged Meats Corp.

(incorrectly named in this case as Smithfield Foods, Inc.) hereby identifies the exhibits it intends

to introduce at the trial of this action. This list is not inclusive of exhibits that may be used for

impeachment or rebuttal purposes.

       Exhibit Number
                                                               Description
    (Same Number as in
       Depositions)

                1                  Acknowledgement forms – sexual harassment training; receipt
                                   of Code of Conduct – Yvette Nimenya

                2                  Smithfield Employee Handbook

                3                  Smithfield Code of Business Conduct and Ethics

                4                  Collective Bargaining Agreement for plant hourly employees

                8                  Email dated March 3, 2016 from Scott Reed to Russ Hultman
                                   with Hultman handwritten notes

                9                  Email dated March 4, 2016 from Carrie Moate to Scott Reed
                                   and Dave Hillberg re: Scott Genzler

       10 (also Ex. 50)            Summary of meeting dated 3/22/16 signed by Russ Hultman,
                                   Thomas Zuraff, David Hillberg
Case 4:17-cv-04123-LLP Document 63 Filed 09/10/18 Page 2 of 5 PageID #: 1313



          16             Written warning to Scott Genzler dated 2-22-16

          19             Acknowledgement forms signed by Sala Naambwe re:
                         harassment training, receipt of Code of Conduct

          20             Notice of Hearing and Summons to Appear TPO 17-326, Sala
                         Naambwe v. Juan Ogaldez

          22             Email dated September 12, 2016 from Monica Derby to Scott
                         Reed re: Sala Naambwe follow-up

          25             Photograph and diagram of honey line incident

          27             Collective Bargaining Agreement between John Morrell & Co.
                         and United Food and Commercial Workers Local 304A

          28             Email dated April 4, 2016 from Scott Reed to Dave Hillberg,
                         Russ Hultman, Gary Loger re: Sala Naambwe

          30             Email dated August 29, 2016 from Monica Derby to Scott Reed
                         re: Investigation Notes – Christion, Zuroff, Anderson

          39             Email dated April 2, 2018 from Scott Reed to Carrie Moate re:
                         Sala Naambwe & Abegail David Incident 03/27/18

          41             Disciplinary action form for Sala Naambwe dated 12/08/16
                         with handwritten note: “Reduced to written per Grievance.”

          45             Email dated January 12, 2017 from Gary Loger to Dave
                         Hillberg re: Sala

          48             Email dated February 29, 2016 from Scott Reed to Carrie
                         Moate, David Hillberg re: Scott Genzler

          54             UFCW correspondence, including grievance form, related to
                         Naambwe grievance no. SF 05/18

          56             UFCW correspondence, including grievance form, related to
                         Naambwe grievance no. SF 104/16

          57             Email dated August 15, 2017 from Dakota Mills with attached
                         investigation powerpoint

          58             Email chain dated August 15, 2017 between Scott Reed and
                         Garney Henley re: Sala




                                       2
Case 4:17-cv-04123-LLP Document 63 Filed 09/10/18 Page 3 of 5 PageID #: 1314



     Exhibit Number
                                                        Description
(Defendant’s Exhibits Only)

           100                Handwritten notes of Gary Loger dated 12-18-14 re:
                              investigation into Naambwe complaints

           101                Email dated December 24, 2014 from Scott Reed to Gary
                              Loger, Dave Hillberg, Carrie Moate re: Sala Naambwe & Juan
                              Ogaldez

           102                Notes to file written by Scott Reed and dated October 4, 2016
                              re: Respectful Communications & Behavior Discussion –
                              Smoked Meats Dept 19

           103                Scott Reed handwritten notes dated 04/04/16 re: Juan Ogaldez
                              issue

           104                Email dated April 11, 2016 from Dave Hillberg to Scott Reed,
                              Russ Hultman, Gary Loger re: Sala Naambwe

           105                Email dated December 12, 2016 from Scott Reed to Dave
                              Hillberg, Gary Loger, cc Monica Derby

           106                Email dated December 26, 2017 from Scott Reed to Steve
                              Fergen, cc: Carrie Moate, re: Sala Naambwe & Ozie Townsend
                              Incident 12/20-12/22/2017

           107                Scott Reed’s typed notes dated 1/10/18 re: meeting with Sala
                              Naambwe to discuss taking photographs

           108                Carrie Moate’s handwritten notes dated 12/22/14 regarding
                              investigation into Juan Ogaldez incident

           109                Email dated August 29, 2016 from Monica Derby to Scott
                              Reed, cc: Gary Loger, David Hillberg re: Interview-Loger

           110                Email dated August 26, 2016 from Monica Derby to Scott Reed
                              re: Sala Naambwe

           111                Chart of employees with multiple disciplinary actions in a
                              single day

           112                Chart of employees with disciplinary actions for violations of
                              multiple work rules

           113                Email dated February 26, 2016 from Scott Reed to Russ
                              Hultman, Gary Loger, cc: Dave Hillberg, Carrie Moate, Timbre

                                             3
Case 4:17-cv-04123-LLP Document 63 Filed 09/10/18 Page 4 of 5 PageID #: 1315



                           Coster, Steve Fergen re: Scott Genzler Attendance

            114            Attendance policy

            115            Payroll and seniority lists used by Monica Derby to investigate
                           Naambwe grievance in August 2016

      May Introduce

            116            Selected medical records of Sala Naambwe




Date: September 10, 2018               Respectfully submitted,

                                       SMITHFIELD PACKAGED MEATS CORP.

                                       By: /s/ Lisa K. Marso
                                           Lisa K. Marso
                                           BOYCE LAW FIRM, L.L.P.
                                           300 S. Main Avenue
                                           Post Office Box 5015
                                           Sioux Falls, SD 57117-5015
                                           605.336.2424 – PHONE
                                           605.334.0681 – FAX
                                           LKMARSO@BOYCELAW.COM



                                          Susan F. Wiltsie (Admitted Pro Hac Vice)
                                          Andrea R. Calem (Admitted Pro Hac Vice)
                                          HUNTON & WILLIAMS LLP
                                          2200 Pennsylvania Avenue, N.W.
                                          Washington, D.C. 20037
                                          202.955.1500 – PHONE
                                          202.778.2201 – FAX
                                          SWILTSIE@HUNTON.COM
                                          ACALEM@HUNTON.COM



                                          ATTORNEYS FOR DEFENDANT
                                          SMITHFIELD PACKAGED MEAT CORP.




                                          4
Case 4:17-cv-04123-LLP Document 63 Filed 09/10/18 Page 5 of 5 PageID #: 1316



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served via the Court’s electronic

filing system on September 10, 2018 on the following counsel for Plaintiffs:

                                     Stephanie E. Pochop, Esq.
                                     Johnson Pochop & Bartling
                                     405 Main Street
                                     Post Office Box 149
                                     Gregory, South Dakota 57333
                                     stephanie@rosebudlaw.com



                                     /s/ Lisa K. Marso
                                     Lisa K. Marso
